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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

JONATHAN M. PHILLIPS,                            '
TDCJ No. 01930385,                               '
                                                 '
                       Petitioner,               '
                                                 '
v.                                               '             Civil Action No. 7:20-cv-130-O-BP
                                                 '
BOBBY LUMPKIN, Director,                         '
Texas Dep’t of Criminal Justice,                 '
Correctional Institutions Division,              '
                                                 '
                       Respondent.               '

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       This is a habeas action brought pursuant to 28 U.S.C. ' 2254 in which Petitioner challenges

his Young County conviction for the offense of aggravated sexual assault of a child. The United

States Magistrate Judge entered his Findings, Conclusions, and Recommendation in which he

recommends that the petition be dismissed. See ECF No. 18. Petitioner did not file objections.

       The District Court reviewed the Findings, Conclusions, and Recommendation for plain

error. Finding no error, I am of the opinion that the findings of fact, conclusions of law, and reasons

for dismissal set forth in the Magistrate Judge’s Recommendation are correct and they are hereby

adopted and incorporated by reference as the Findings of the Court.

       For the foregoing reasons, the petition for writ of habeas corpus is DISMISSED as barred

by the statute of limitations and for failure to exhaust state remedies.

       SO ORDERED this 10th day of November, 2021.


                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
